|N THE UN£TED STATES D|STR|CT COURT FOR THE
WESTEFIN DlSTFl|CT OF M|SSOUFil
WESTEFIN DlVlSlON

KANSAS ClTY CEMENT MASONS
PENSION FUND et a|.,

P|aintiifs
v. NO.: 16-1258-CV~W-JTM

LAN~TEL COMMUN|CAT!ONS SERV|CES, INC.,

-\._/'\_r‘~_r*`_r`_r`_¢-_.¢\_p",r\.._¢

Defendani.

AFF"|DAV!T OF AUD|TOR
IN SUPPORT OF UNPAID FRINGE BENEF|T CONTRIBUT!ONS ANQ AUI_J|T COST§

Come now Plaintiffs, and submit the following affidavit of Abby t-leyen, field auditor
empioyed by Construction Benefits Audit Corporation, in support of their claims for unpaid fringe

benefit contributionsl liquidated damages, interest and audit costs.

f, Abby Heyen, of lawful age, being duly sworn, depose and state:

1. l am a payroll auditor employed by Construction Benefits Audit Corporation.

2. l performed an audit for the Cement Niasons employee benefit plans, Plaintlffs in the
above-captioned matter, and in such oapacity, l have personal knowledge of the facts set forth in this
Affidavit.

3. |n performing said audit, l relied upon monthly remittance reports, payroll records,
and other records produced by Defendant Lan-Te| Communicaticns Services, |nc. (“Lan-Tel").

4. Lan-Tel’s remittance reports identified cement mason employees ot Lan~Tel who
performed work covered by the subject collective bargaining agreements (“OBAS”) for the period of
January 1, 2013 through December 31 , 2015.

5. Lan-Tel failed to make empfoyee benefit plan contributions on behalf ot its cement

mason employees for work covered by the CBAs from January 1, 2013 through December 31, 2015.

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inhibit H t

 

 

6. in conducting said audit, l compared Lan-Tel’s payroll records and remittance
reports to determine the number ct hours worked by each of Lan-Tel’s cement mason employees
performing work covered by the subject CBAs from January 1, 2013 through December 31, 2015
which were not properly reported to the Plaintiff Funds.

7. in performing said audit, t applied the employee benefit hourly contribution rates
expressly set forth in the applicable CBAS.

8. Upon applying the hourly contribution rate to the number of unreported hours for
each of Lan-Tel’s cement mason employees who performed work covered by the subject CBAs
from January 1, 2013 through December 31, 2015, | prepared an Audit Surnmary and Cornrnents
(Exhibit "1”) which indicates the amounts due and owing the Ptaintiff Funds on August tt, 2016, as

toilews:

PENsloN FUND SUBToTAL

 

DELINQUENT CoNTnieutioNs DAMAGEs |NTEaEsT TOTAL
$1,362.59 $328.37 $36.31 $2,227.27
PENstON FuND
DEL|NQUENT CONTF:\BL)T|ONS DAMAGES lNTEnEsT TOTAL
$1,108.36 $195.86 $21.59 $1,325.81
DEFINED CoNTnlsuTtoN PLAN
DELtNQUENr CONTF:JBUTIONS DAMAGES iNTEnEsT ToTAL
$Y54.23 $132.51 $14. 72 $901.46
HEALTH & WELFARE FuND
DELlNQUENr CoN'reieuTtoNs DAMAc.Es iNTEaEsT TOTAL
$1,764.85 $309.84 $34.11 $2,108.80
VAcATloN FUND
DEL:NQUENT CONTF::BUTEONS DAMAGES lNTEFiEsT 't'o'rAL
$1,167,50 $205.13 $22.80 $1,395.43
APPRENTlcEsHlP & THA|NING FUND
DELINQUENT CcNTntBUTloNs DAMAcEs tNTEFtEsT TOTAL
$95.41 $16.70 $1.77 $1ts.es
“l'oTAt. DELiNouENT ToTAL ToTAL
CoNTatetn‘lous DAMAeEs tNTEFtEsT TorAL
$4,890.35 $860.04 $94.99 $5,845.38

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9. | calculated liquidated damages on the unpaid fringe benefit contributions owed to the
Pension Fund, Heailh and Weiiare Fund, Vacation Fund, and `t'raining Fund in accordance with the
applicable collective bargaining agreements, Amended Agreements and Dec|araticns of Trustl and
the Fiesolutions of the Boards ot Trustees. A copy of the Hesolutions of the Boards of Trustees setting
forth the rate at which liquidated damages are calculated ls attached hereto as Exhibit "2".

iO. l calculated the interest on the unpaid fringe benefit contributions owed to the Pension
Funct, Health and We|fare Fund, Vacation Fund, and Training Fund up through and including August
11, 2016 in accordance with the appticable collective bargaining agreements, Amended Agreements
and Declarations of Trust, and the Fiesolutions of the Boards of Trustees. A copy ot the Ftesolutions of
the Bcards of Trustees setting forth the method for interest calculation is attached hereto as
Exhibit "3".

11. l expended 107.00 hours reviewing the Defendant's certilied payroll records. The
hourly charge for review of records is sEvENTv-FWE AND 00!100 ($75.00} DcLLAes per hour.

12. The total costs of my having performed said audit is $8,025.00. A Staternent cf Audit

Costs is attached hereto as Exhibit “4”.

Further affiant sayeth not.

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Abby l~ie/ yen
STATE OF lvilSSOURi )
) SS
COUNTY OF JACKSON )

Subscribed and sworn to before me this Q»'_J'mday of December, 2017.

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Nolcuy Public Notory Sect| W%
Stole of Missouri 1 ’

Jockson Count -
Commisslon # i536 yti 649 - ' ‘ - " Notary Pubuc
Mv Commiss|on Expires December 22 20t9 ‘ ' j ' ' f -- '

 

 

 

 

 

 

 

 

 

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